                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


 DIGITAL MEDIA SOLUTIONS, LLC,         )               Case No. 1:19-cv-0145
                                       )
      Plaintiff,                       )               JUDGE DAN AARON POLSTER
                                       )
      v.                               )               MAGISTRATE JUDGE
                                       )               THOMAS M. PARKER
 SOUTH UNIVERSITY OF OHIO, LLC, et al. )
                                       )
      Defendants.                      )               MINUTES OF PROCEEDINGS AND
                                       )               ORDER

Proceedings: On March 18, 2019, the Court conducted a hearing on the motion to approve
settlement agreement (ECF Docs. 82 and 85) and related objections. ECF Docs. 122-2, 125, 126
and 128. Prior to the hearing, two of the objections were withdrawn or were rendered moot.
Dream Center South University, LLC’s (“South University”) counsel, Morgan Hanson, stated an
ongoing objection to the settlement agreement due to concerns about paying fees to Studio
Enterprise Manager, LLC (“Studio”), which had the ability to hold those amounts for forty-five
days before paying related bills. Counsel for Studio indicated that, although it had the right to
hold amounts paid for forty-five days, it was not doing so. It was paying all bills for which it had
received invoices and backup documents. Studio represented, however, that South University
had not yet paid its March 2019 payment to Studio due under the parties Transition Services
Agreement or Managed Services Agreement. The receiver expressed frustration over certain
invoices not being paid by Studio. After hearing argument, the Court overruled South
University’s objection to the settlement agreement and approved the settlement agreement,
subject to the modification of the date in ¶ 7 of the agreement from March 26 to April 26,
thereby extending the period within which the receiver and/or Studio could receive offers to
purchase Western State College of Law. The court also conditioned approval of the settlement
agreement on funds being provided for prompt payment of all bills related to the IT platform. As
stated during the hearing, the motion to approve the settlement agreement as expressed in the
original agreement and supplements thereto (ECF Docs. 82, 85 and 118) is GRANTED.

The Court has received correspondence from Argosy and Art Institute teachers stating that they
have not been paid for work performed in the receivership period. The receiver acknowledged
an inability to make payroll payments for the period ending March 8, 2019 with a pay date of
March 15, 2019 (due to the cut off of Title IV funding), but asserted he is working to pay all
employees and submitted a proposed plan to the Court. ECF Doc. 183. Receiver’s counsel
acknowledged that the report inaccurately stated that the missed pay date was March 8, 2019.
The receiver will submit a corrected report as soon as possible. The Court ordered that all
ongoing payroll and current expenses of operations for any entity in receivership must be paid or
the Court would schedule a show cause hearing.

The Court addressed the response and reservation of rights filed by Benefit Administrative
Systems, LLC (“BAS”). ECF Doc. 177. BAS claims that it has not been paid by the receiver.
The receiver stated that the receivership entities have not received any services from BAS during
the receivership period. Aaron Applebaum, attorney for BAS, stated that it had requested a
cancellation of the contract from the receiver. As agreed on the record, the receiver must contact
Mr. Applebaum as soon as possible to arrange for the contract to exclude the receivership
entities. The non-receivership entities continue to receive services through the BAS contract and
will be separately responsible to pay for the same.

The Court inquired as to status of the payroll and expenses for the Western State College of Law
(“WSCL”). The receiver reported that he has secured sufficient funds to pay payroll for work
performed through April 5th, which will be paid on April 12th. Rent for WSCL is being
deducted from a security deposit with the landlord. Both the dean of the law school and the
receiver asserted that several parties have expressed interest in purchasing the law school.
However, Michael Frola, a representative of the United States Department of Education, stated
that the only way to quickly receive Title IV funding is for WSCL to be brought under an
existing OPE-ID of an existing entity (other than Argosy). The Court extended the time period
to April 26, 2019, during which the receiver may market the assets of the law school to interested
parties. Michael Frola stated that any formal proposals to purchase the law school must be
presented to the DOE through the receiver. Although Mr. Frola did not define what constitutes a
“formal proposal,” the court presumes it would entail a written contract offer expressing the
material terms of an unconditional offer to purchase. The Court encouraged the DOE to work
with the parties interested in purchasing the law school. The Court ordered the receiver to work
with the interested parties and the DOE to seek approval of the transfer of the law school’s
assets. The receiver must file a report on the status of his efforts and the meetings that
have taken place on or before noon on April 2, 2019.

The Court asked how much money would be required to keep the law school running through
May 29, 2019, the end of the current semester. Receiver’s counsel estimated that it would take
approximately $584,000.00. One possible source for this money is a fund that was raised for
student scholarships. The chair of the fundraiser committee, Attorney Greg Bentley, participated
in the hearing by telephone. The Court encouraged Mr. Bentley to consider how that money
might be applied toward the ongoing expenses of the law school. The money raised for
scholarships would need to be returned if the law school closes. The Court ordered the
receiver to continue funding the law school through May 29, 2019.

The receiver is not permitted to use the 1.5 million he is holding in a designated account
without prior Court approval, but it may propose using a portion of said funds for ongoing
operations of WSCL.

The Court received two letters from Joseph D. Harbaugh, the Chair of the Argosy University
Board of Trustees, regarding the masters and doctoral clinical psychology students. Dr.

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